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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF KANSAS

 IN RE: SYNGENTA AG MIR162                                     MDL No. 2591
 CORN LITIGATION
                                                         Case No. 14-md-02591-JWL-JPO
 This document relates to:

 Kenneth P. Kellogg, et al. v. Watts Guerra
 LLP, et al.,
 Case No. 18-cv-2408-JWL-JPO



    REPLY MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO
    DISMISS DUE TO PLAINTIFFS’ CONTINUED, WILLFUL DISREGARD
               OF THE COURT’S ORDERS (ECF NO. 327)


                                    INTRODUCTION

       In the March 3, 2020 Order, Plaintiffs were warned that continued recalcitrance

would likely result in dismissal. (ECF No. 308, p. 8). Plaintiffs did not heed the Court’s

warning. To the contrary, despite that warning—and repeated rulings by this Court that

their positions on jurisdiction and recusal have no merit—Plaintiffs have confirmed they

simply will not participate in discovery or pretrial proceedings in this Court.

       Plaintiffs’ counsel has been sanctioned twice now—for failing to attend the Court-

ordered February 11, 2020 planning conference and for engaging in unreasonable and

vexatious litigation conduct. (Id.; ECF No. 345). Yet in response to efforts by Defendants

and this Court to move proceedings forward (including the motion at bar), Plaintiffs have

not budged. Rather, they have filed improper and ineffective notices of appeal from every

decision the Court has made since the March 3 Order issued (ECF Nos. 332, 338, 350-51);
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squarely disobeyed this Court’s repeated rulings that proceedings will continue in this

Court unless and until the Tenth Circuit orders otherwise; and continued to demand the

same relief over and over again, based on the same flawed arguments and—incredibly—

without even trying to engage the reasoning of this Court’s prior rulings. In short, since

the Court’s warning, Plaintiffs have done nothing but make bad matters worse by engaging

in the same disruptive and vexatious tactics that the Court has already soundly condemned.

        All of which has confirmed that Plaintiffs’ ongoing, flagrant disregard of the Court’s

orders will not stop. Accordingly, there is no reason to believe that further monetary

sanctions will “spur plaintiffs to begin prosecuting their case in this court.” (ECF No. 308,

p. 9). Even in their response to Defendants’ motion for dismissal (ECF No. 349), Plaintiffs

give no quarter—offering neither apology nor promise to obey the Court’s orders going

forward. And each of the arguments Plaintiffs do raise has been rejected already—in many

cases, multiple times—by this Court, the Tenth Circuit Court of Appeals, or both. With

Plaintiffs having failed to provide any legitimate argument, excuse, or apology for their

failure to prosecute and willful disregard of Court orders, Defendants respectfully request

that the Court give Plaintiffs what they so sorely want―a final judgment from which to

appeal.

                                       ARGUMENT

I.      PLAINTIFFS’ REFUSAL TO PARTICIPATE IN PRETRIAL PROCEEDINGS AND
        WILLFUL DISREGARD OF THE COURT’S ORDERS WARRANTS DISMISSAL

        Plaintiffs narrowly avoided dismissal in the March 3 Order because they had not

been warned that noncompliance with the Court’s orders would result in dismissal, and


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because the Court was not convinced a lesser sanction would not motivate Plaintiffs to

being prosecuting their case. (ECF No. 308, pp. 8-9). Plaintiffs thus were warned that

failure to attend a planning meeting or participate in the submission of a planning-meeting

report, or the failure to comply with Court orders or their continued refusal to move the

case forward, would likely result in dismissal. (Id.). But instead of spurring Plaintiffs’

compliance, the March 3 Order has had the opposite effect:

     Plaintiffs have confirmed unequivocally that they “are unwilling to proceed with

        discovery and pretrial proceedings while awaiting disposition of [Plaintiffs’]

        pending appeal…and petition for a writ of mandamus[.]” (ECF No. 343-1, Ex. 75,

        p. 3 (Plaintiffs’ Report of Parties’ Rule 26(f) Discovery Planning Conference)).

     Plaintiffs attended a planning conference but refused to engage in a meaningful

        discussion about numerous topics that were necessary to complete the conference

        and report to the Court (e.g., plan for and timing of discovery, ESI protocols, motion

        deadlines, etc.). Plaintiffs would only discuss their own demands: the exchange of

        settlement offers; and a one-way initial disclosure of documents by Defendants that

        is not required by Rule 26(a)(ii), that is irrelevant unless and until Plaintiffs establish

        class certification, and that raise attorney-client privilege concerns. (ECF No. 328-

        1 (Declaration of Christopher L. Goodman, dated April 7, 2020)).

     While Plaintiffs submitted a document purporting to be a planning-meeting report,

        the report violated essentially every requirement and norm for such reports,

        providing little more than a laundry list of Plaintiffs’ oft-repeated arguments

        challenging the Court’s jurisdiction. (ECF No. 343-1, at Ex. 75). The report was

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        also prepared and filed by Plaintiffs unilaterally—in violation of the Court’s March

        3 Order, standard practice, and Plaintiffs’ counsel’s own promise at the planning

        conference to prepare a draft report for the parties to file jointly. (ECF No. 328-1,

        Goodman Decl., Ex. B.).

     Plaintiffs have accused Judge Lungstrum and Chief Magistrate Judge O’Hara of

        having a conflict of interest and holding bias toward the Plaintiffs, and based such

        accusations in no small part on the substance of the Court’s rulings—which, they

        should know, is grossly improper. (Id., pp. 10-11; ECF No. 320, p. 7 (arguing “the

        Court and the Magistrate Judge are equally conflicted”), id., p. 20 (“The Magistrate

        Judge shows objective bias in a February 18, 2020 Order[.]”).

     Not satisfied with accusing the Court of bias, Plaintiffs’ counsel now claims “that

        Defendants’ lawyers are actively engaged in professional misconduct[.]” (ECF No.

        343-1, at Ex. 75, p.11) (emphasis added).1

     Plaintiffs have adopted an improper strategy of impeding all efforts to move this

        case forward by seeking appellate review—either through further appeals of non-



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  In addition, while Plaintiffs’ counsel complained in his improper April 7 report that the
parties’ April 1 conference was a “farce” because “[Defendants] do not [this case] as a class
action and only a lawsuit by six individual plaintiffs” (see ECF No. 343-1, at Ex. 75, p.
10), at no point during the conference did Plaintiffs’ counsel propose filing a motion for
class certification. He also flatly opposed Defendants’ proposal to phase discovery,
beginning with named plaintiffs with class-related discovery to follow thereafter (i.e., if
such discovery was appropriate after motion practice on class certification). But rather
than negotiate this issue or include it in the parties’ conference report as a matter for the
resolution by the Court at the scheduled planning conference, Plaintiffs’ counsel chose to
treat Defendants’ proposal (i.e., phased discovery) and concerns (e.g., attorney-client
privilege) as a flat refusal to produce anything, ever—which plainly it was not.

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        final orders or via petitioning for a writ of mandamus—and standing on those

        procedural maneuvers as the basis to refuse to participate in pretrial proceedings,

        despite clearly established law (and repeated rulings from this Court) that

        mandamus petitions do not automatically impose a stay and notices of appeal from

        non-final, non-immediately appealable orders do not transfer jurisdiction.

        Even after being warned of the consequences that further recalcitrance would bring,

Plaintiffs have continued to engage in precisely the sort of conduct that, as the Court

previously found, warrants dismissal. (ECF No. 308, p. 6 (“Turning to the first [Ehrenhaus]

factor, defendants clearly have been prejudiced.”); id., p. 7 (Plaintiffs’ conduct also has

interfered with the orderly and timely processing of this case, and led to otherwise

unnecessary judicial intervention.”); id., p. 8 (“Plaintiffs’ culpability supports dismissal.”)).

Further, as demonstrated below, none of Plaintiffs well-worn arguments excuse their

continued disregard for the Court’s orders.

II.     THE COURT NEVER LOST JURISDICTION OVER THIS CASE

        Plaintiffs’ core argument is that this Court lost jurisdiction when Plaintiffs filed a

Notice of Appeal in January 2020—an argument that has been rejected many times over.

(ECF No. 345, p. 3 (“Finally, Mr. Nill argues that this sanction is prohibited by the Court’s

loss of jurisdiction and by the conflict and bias that require the undersigned’s recusal. The

Court stands by its repeated rejections of these arguments.”); ECF No. 246, p. 2

(“Appellants have not established that the district court’s decisions are final or immediately

appealable.”)). As this Court has repeatedly held, Plaintiffs are not entitled to appellate

review at this time because no final orders have been issued. (Id. (“For instance, Mr. Nill

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argues the issue of jurisdiction, but he does not address the fact that the case is ongoing and

thus no final order has been issued.”)). Astonishingly, Plaintiffs do not even attempt to

claim that any of the orders they have attempted to challenge on appeal are final. (ECF

No. 349). No final and appealable order has been issued in this case and that one truth

shreds Plaintiffs’ jurisdictional arguments. Similarly, Plaintiffs’ remaining arguments are

contrary to established case law and have been soundly rejected by this Court.

        First, Plaintiffs argue the mere filing of an interlocutory appeal divests the district

court of jurisdiction. (ECF No. 349, p. 4). Yet Plaintiffs offer no response to established

law that, when appeal is taken from a non-final order, the district court is free to ignore it.

See Arthur Andersen & Co. v. Finesilver, 546 F.2d 338, 340–41 (10th Cir. 1976) (“If the

notice of appeal is deficient by reason of untimeliness, lack of essential recitals, reference

to a non-appealable order, or otherwise, the district court may ignore it and proceed with

the case.”) (citation omitted) (emphasis added). That is because “[a]n attempt to appeal a

non-final decision of a district court remains just that, an attempt. It is a nullity and does

not divest the trial court of its jurisdiction.” Century Laminating, Ltd. v. Montgomery, 595

F.2d 563, 567 (10th Cir. 1979) (quoting Euziere v. United States, 266 F.2d 88 (10th Cir.

1959), vacated on other grounds, 364 U.S. 282, 80 S.Ct. 1615, 4 L.Ed.2d 1720)).

        Plaintiffs’ contrary position is based on inapposite case law involving an appeal

taken as a matter of right from an immediately appealable order. As Defendants have

argued and this Court has explained, the appellant in McCauley v. Halliburton Energy

Services, Inc. had a statutory right, under the Federal Arbitration Act (“FAA”), to assert an

interlocutory appeal. (ECF No. 335, p. 2, n.1 (citing McCauley, 413 F.3d 1158 (10th Cir.

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2005)). Similarly, the appellant in Stewart v. Donges possessed a right of interlocutory

appeal because its motion for summary judgment on qualified immunity grounds was

denied. Id., 915 F.2d 572, 575 (10th Cir. 1990) (noting that under United States Supreme

Court precedent “the denial of a defendant’s motion for summary judgment based on

qualified immunity was also a collateral order for which interlocutory appeal was

available.”) (citing Mitchell v. Forsyth, 472 U.S. 511, 530, 105 S.Ct. 2806, 2817, 86

L.Ed.2d 411 (1985)). In both cases, the appellant unmistakably possessed the right to seek

appellate review on an interlocutory basis.       That is why a hearing (and finding of

frivolousness) was required before the district court could proceed. Here, however,

Plaintiffs have no right to immediate interlocutory appeal from any of the rulings they

challenge. McCauley and Stewart are therefore inapposite.

        Second, for the same reasons, Plaintiffs’ argument that transfer of jurisdiction was

“automatic” because Defendants did not request a McCauley hearing also fails. That

argument assumes Plaintiffs possess a right of interlocutory appeal which, as just noted,

they do not. Plaintiffs’ belated assertion of a waiver-type argument based on the supposed

need for a McCauley hearing therefore rings hollow. (ECF No. 335, p. 2, n.1 (“Plaintiffs

have not cited any authority requiring additional proceedings before the Court may

continue to exercise its jurisdiction after an attempt to appeal from a non-final order.”)).

        The one case Plaintiffs cite in which a McCauley-type hearing was requested,

Martinez v. Mares, proves this point. (ECF No. 349, p. 7, n.2 (citing Martinez v. Mares,

No. 1:14-CV-00041 WJ-KBM, 2014 WL 12650970, at *1 (D.N.M. Sept. 22, 2014)). Like

the appellant in Stewart v. Donges, supra, the appellant in Martinez possessed the right to

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seek immediate review of the denial of its motion for summary judgment on qualified

immunity grounds. Martinez, at *1 (noting “trial court decisions denying public officials

the defense of qualified immunity are immediately appealable in certain circumstances.”)).

Citing Stewart v. Donges, the court recognized the party opposing the appeal had the right

to seek de-certification “[i]f the claim of immunity is a sham[.]” Martinez at *2 (quoting

Stewart, 915 F.2d at 577). Far from requiring a party to move for a McCauley hearing in

all appeals, as Plaintiffs erroneously suggest, Martinez and Stewart merely recognize that

a district court may, after a hearing and appropriate findings, maintain jurisdiction and

move proceedings forward where an appeal is jurisdictionally proper but frivolous. The

situation here is completely different. Considering Plaintiffs do not possess the right of

interlocutory appeal, there would be nothing for Defendants to challenge under a

McCauley-type motion. The appeal is a legal nullity and the Court is free to disregard it.

See Finesilver, 546 F.2d at 340–41 (noting “the district court may ignore [the interlocutory

appeal] and proceed with the case.”); Century Laminating, Ltd., 595 F.2d at 567 (attempt

to appeal a non-final order is a nullity).

        Third, effectively confirming the propriety of a dismissal sanction, Plaintiffs argue

that continued litigation in this District violates their due process rights while once again

disregarding the Court’s prior rulings on that issue. In its April 3, 2020 Order, for example,

this Court specifically rejected Plaintiffs’ due process argument, finding there is no conflict

of interest or actual bias. (ECF No. 323, p. 6 (noting “the present case does not involve

extreme circumstances that create a reasonable and significant likelihood of actual bias that

is too great to be constitutionally tolerable.”); id. at p. 11 (“Moreover, as the Court has

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already twice ruled, those provisions of Section 455 do not apply to knowledge obtained

in the court of related judicial proceedings.”)). The Court noted the merits of Plaintiffs’

claims will not be tried in this District, thereby eliminating the possibility Judge Lungstrum

would be a fact witness (id., pp. 10-11 ), which is not (and never was) a serious possibility.2

Moreover, the Court observed that “the timing of plaintiffs’ recusal motions strongly

suggest that plaintiffs actually object to the undersigned’s continued involvement in this

case because of adverse rulings by the Court[,]” which is not a legitimate basis to recuse.

(Id., p. 12 (citing United States v. Cooley, 1 F.3d 985, 994 (10th Cir. 1993 (adverse rulings

do not provide a basis for disqualification of a judge)).

        Despite requesting recusal in numerous filings Plaintiffs have not identified any

“reasonable basis to believe that the Court has a conflict of interest or harbors some actual

bias against [them].” (ECF No. 335, p. 11). Plaintiffs do not address the fact their claim

will not be tried before this Court. Nor have Plaintiffs demonstrated anything beyond their

disagreement with the Court’s rulings as a basis for recusal. (Id., p. 10 (“Accordingly, this

speculation does not provide a reasonable basis for believing that the undersigned judge is




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  Plaintiffs’ theory on their one remaining claim is that they were opted out of class
proceedings without informed consent. It is difficult to fathom how the Court could be a
witness. From the Court’s perspective (as noted in the April 3 Order, ECF 323 at pp. 7-8),
lead MDL class counsel proposed class definitions that excluded plaintiffs (such as
Defendants’ clients) already pressing mass action proceedings against Syngenta. There
was nothing improper about that exclusion—far from it; the reason clients retained
Defendants in the first place was to bring individual actions. But, even if there were any
impropriety in the exclusion as Plaintiffs insist, proving as much would involve
communications and understandings to which the Court could not possibly bear witness.

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biased or has conflict, and this it does not provide a basis for recusal to satisfy due

process.”) (citation omitted)).

        Fourth, Plaintiffs erroneously contend Chief Magistrate Judge O’Hara “mistakenly”

relied on Plaintiffs’ December 21, 2019 status report to the Tenth Circuit as the basis for

rejecting their jurisdictional argument. (ECF No. 349, p. 6 (citing ECF Nos. 268, 269)).

That contention is false as the Court has clearly—and repeatedly—rejected Plaintiffs’

jurisdictional argument for the simple reason that the Court has not issued a final and

appealable order. (ECF No. 345, p. 3; ECF No. 246, p. 2). Further, the Magistrate Judge

properly referenced the status report because it shows the Tenth Circuit was aware of the

December 18, 2019 Order, an order which confirms the larger point, which Plaintiffs refuse

to acknowledge, that “the procedural posture of the case is unchanged—because a claim

remains in the case, there is no final decision of this court that would confer jurisdiction

upon the Tenth Circuit.” (ECF No. 268, p. 7).

        Fifth, the Court has not left Plaintiffs with a “Morton’s Fork” as their path forward

has been clear since the December 18, 2019 Order was issued: dismiss their lone remaining

claim so final judgment can be entered and Plaintiffs can appeal; or litigate their lone

remaining claim in this District until a final order or judgment has been entered on that

claim, and then decide whether to appeal the Court’s prior orders. Plaintiffs need not have

fretted over the supposed “waive[r] of the transfer of jurisdiction” if they had finally

participated in pretrial proceedings (ECF No. 349, p. 9); there is and was nothing to waive.

        Finally, Plaintiffs’ counsel, Attorney Douglas J. Nill, claims he “has never been

sanctioned”—a boast made under penalty of perjury in Attorney Douglas J. Nill’s

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Fourteenth Declaration (ECF No. 343, p. 2, n.1; ECF No. 343-1, ¶¶ 1-4) and which

Attorney Nill chose to “stand[s] by” in his most recent Declaration. (ECF No. 349-1, ¶ 3).

If this was a mistake in the first instance, by doubling down on it now, Attorney Nill appears

to be displaying an alarming lack of candor, if not an intentional effort to mislead.

        As Defendants previously noted, the Minnesota Court of Appeals, in Hirsi v. ARCH

Language Network, Inc., affirmed a district court decision which “was in part, a sanction

for Hirsi’s failure to comply with any of the court’s instructions,” a failure to comply that

“increased the burden on respondents by making it more difficult for respondents to

determine what the allegations were.” (ECF No. 346, p. 3 (citing Hirsi, No. A18-1076,

2019 WL 1591800, at *5 (Minn. Ct. App. Apr. 15, 2019)). Attorney Douglas J. Nill

represented the plaintiff in Hirsi. (Id.).

        Now, in his most recent (Fifteenth) Declaration, Plaintiffs’ counsel attempts to

explain away his misrepresentation by claiming he was not sanctioned in Hirsi for

“misconduct related to discovery[.]” (ECF No. 349-1, p. 2) (emphasis as in original). But

Attorney Nill’s original claim was never so hedged, nor is this belated distinction

meaningful, nor did Defendants ever claim that Attorney Nill was sanctioned for a

discovery violation. The fact is, Attorney Nill was sanctioned for failing to comply with

a district court order regarding motions to amend the complaint, a finding that was, as just

noted, affirmed on appeal. (Declaration of Christopher L. Goodman, May 8, 2020, Ex. A

(Hirsi v. Arch Language Network, Inc., No. 27-CV-16-9944, 2017 WL 8788196, at *2

(Minn. Dist. Ct. April 26, 2017) (“The appropriate sanction for Plaintiffs’ failure to follow

the Court’s prior order regarding future motions seeking to amend the Amended Complaint

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is to deny the pending motion.”) (emphasis added); Goodman Decl, Ex. B, Hirsi, 2019 WL

1591800, at *5 (Minn. Ct. App. April 15, 2019)).

        Confronted with the fact he was indeed sanctioned in Hirsi, Attorney Nill could

have admitted his error. He could have apologized to the Court and counsel for falsely

claiming “he has never been sanctioned[.]” Instead, he stubbornly chose to “stand by” his

original false statement that he had never been sanctioned (ECF No. 349-1, p. 2) – just as

he stubbornly “stands by” his repeatedly-rejected arguments in this Court and

unapologetically refuses to prosecute his case despite the threat of dismissal. Such behavior

falls well below the Kansas Bar Association’s Pillars of Professionalism. (See

https://www.ksbar.org/page/pillars (noting that with respect to the courts, counsel should

“act with candor, honesty, and fairness toward the court.”).3

                                      CONCLUSION

        Neither monetary sanctions nor the threat of dismissal nor repeated rulings by this

Court have spurred Plaintiffs to accept this Court’s jurisdiction and participate in discovery

or pretrial proceedings. Instead, Plaintiffs have made it abundantly clear that they will

litigate this action on their terms, no matter what the Court directs—and that their

overriding priority is to obtain Tenth Circuit review. Flouting Court orders, relitigating the

same arguments repeatedly, ignoring clearly established jurisdictional rules, and continuing



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  Attorney Nill falsely claiming he has never been sanctioned may not, standing alone, be
a sufficient basis to dismiss this action. But we raise the sanction issued in Hirsi to respond
to the false averment that Defendants have made “misrepresentations and omissions of
material facts” (ECF No. 349-1, ¶ 3) and to call attention to what appears to be an
intentional effort by Attorney Nill to mislead the Court.

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to delay the normal, orderly progression of this case while greatly increasing the time and

money needed to defend it—Plaintiffs’ tactics confirm the only remedy is dismissal. A

final judgment, moreover, will allow Plaintiffs to achieve their objective of immediate

appeal. Accordingly, Defendants respectfully request that their motion be granted and that

this action be dismissed in its entirety.

        Dated: 05/11/2020                   Thompson, Coe, Cousins & Irons, L.L.P.


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                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on May 11, 2020, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which will send notification

of such filing to all counsel of record.

                                                        /s/ Christopher L. Goodman



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